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                        EXHIBIT 3
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                                                                    Page 1

1                     UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
2                           EASTERN DIVISION
3       _____________________________
        IN RE NATIONAL PRESCRIPTION   : MDL No. 2804
4                                     :
        OPIATE LITIGATION             :
5                                     : Case No. 17-md-2804
        This document relates to      :
6                                     : Judge Dan Aaron Polster
        Salmons v. Purdue Pharma      :
7       L.P., et al.                  :
        MDL Case No. 1:18-op-45268;   :
8                                     :
        Flanagan v. Purdue Pharma     :
9       L.P., et al.                  .
        MDL Case No. 1:18-op-45405;   :
10                                    :
        Doyle v. Purdue Pharma L.P., :
11      et al.                        :
        MDL Case No. 1:18-op-46327    :
12
13
                                  DEPOSITION OF
14
                               HENRY C. LEE, M.D.
15
                                  March 10, 2020
16
                               Chicago, Illinois
17
18
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24

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1                       THE WITNESS:      I think -- I don't want to
2              question Dr. Anand's qualifications or how many
3              babies he's seen.
4                            I just know that this is part of my
5              clinical practice, to see babies in general and
6              in my practice of taking care of babies with
7              NAS, but both diagnosing them but also caring
8              for them during the times of their symptoms and
9              treating them for that condition.
10      BY MR. BILEK:
11             Q.       And what methods did you use in
12      diagnosing your 50 children?
13             A.       So in general, my practice is you align
14      with the policies and practice of the colleagues that
15      I practice with, and so at our institution, we use
16      the Finnegan score to diagnose NAS.
17             Q.       And you would agree with me on that
18      Finnegan score you found is widely used in the state
19      of California?
20             A.       It is -- the Finnegan score or a modified
21      version of that is the most common way that most
22      hospitals and their practitioners use to identify and
23      diagnose NAS.
24             Q.       When we talk about most common, we are


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1       talking about 96 percent that you found in
2       California, correct?
3                       MR. HENRY:     Object to form.
4                       THE WITNESS:      Yeah.       I mean, I know that
5              I'm an author on that study, but I don't
6              remember the exact percentages.             I think that
7              sounds reasonable.       I'd have to have it in front
8              of me to be 100 percent sure.
9       BY MR. BILEK:
10             Q.       Do you know when the -- have any
11      information on how prevalent doctors use the Finnegan
12      score in other parts of the country?
13             A.       I'm not -- I have to admit to you, I am
14      not -- don't have a photographic memory.               So I do
15      think that there is a study that is similarly
16      reflecting practice across the country.               And from
17      what I remember, I think it was, again, the most
18      common way.      It wasn't the only way, but Finnegan or
19      modified Finnegan score is a common tool that's used
20      across the country.
21                      MR. BILEK:     Let's take a short -- we've
22             been going for an hour and a half.             Let's take a
23             five-minute break.
24


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1       association that they found.
2              Q.       So one of the issues is -- with these NAS
3       children is whether there are long-term problems
4       confronting them, correct?
5              A.       That could be an issue that can be
6       studied.
7              Q.       Well, let's look at the big picture here.
8                       If there are studies that say they have
9       long-term problems, right, I mean, let's use that
10      hypothetical such as this.           We'll get to some more.
11      I've got more for you.
12                      But the issue of, if there is, wouldn't
13      it make sense as a scientist to monitor these
14      children to see how we can help them?
15                      MR. HENRY:     Object to the form of the
16             question.
17                      THE WITNESS:      I think I'm agreeing -- I
18             would agree that we should be concerned about
19             the health of all of our children including
20             those who are exposed to opioids.
21      BY MR. BILEK:
22             Q.       And as a scientist, one of the things
23      that would be helpful in trying to figure out these
24      long-term problems with these children is -- one is


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1              know, my personal, I guess, thoughts on what
2              should be researched.
3                            You know, it has to be taken into
4              the broader context of all of our health care
5              spending and research funding.
6       BY MR. BILEK:
7              Q.       Well, let's put it this way:
8                       Are you opposed to the appointment of a
9       scientific panel to monitor health effects for
10      children born with NAS?
11                      MR. HENRY:     Object to the form of the
12             question.
13                      THE WITNESS:      I guess if somebody
14             proposed that, I wouldn't oppose that.
15      BY MR. BILEK:
16             Q.       Would you be opposed to -- do you think
17      there should be more studies of what the long-term
18      effects are for opioid-exposed children born with NAS
19      as a result of their mothers taking opioids?
20             A.       Again, I think there's a reasonable
21      scientific inquiry into those types of questions, as
22      there are many other questions that I guess that we
23      have in medicine.
24             Q.       Would it be helpful, right, as a


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1       scientist, you'd like to know more, right?               You're a
2       doctor.         You'd like to know what's going to confront
3       these children in the future?
4              A.          I mean, I think, again, this is one part
5       of my practice, to take care of babies with NAS, and,
6       you know, they're -- if there was more research in
7       this area, I think certainly I wouldn't question the
8       pursuit of such research.
9              Q.          And the issue of having the children to
10      be monitored in order to optimize the result, is that
11      something that you could agree would be a good thing
12      to do?
13             A.          I do think that, you know, for example,
14      this study that we just looked at, and I'm not
15      reviewing it comprehensively right now, but they were
16      able to do that research using the data and the means
17      that they had to study this question.
18             Q.          Well, they found that NAS children
19      have -- are facing complex chronic conditions in the
20      future, right?
21                         MS. HENNING:     Object --
22                         MR. HENRY:     Object to the form of the
23             question.
24


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1       herein, owing to the combination of inherited
2       epigenetic changes, poor parental education, and then
3       there are these other issues such as -- and they also
4       include the child's home environment as factors that
5       will affect things like brain volume.
6              Q.       Let's go to conclusions.           So they sum it
7       all up for you here in something simple.               See that?
8              A.       I do see that.
9              Q.       Could you read that, please?
10             A.       This systematic review and meta-analysis
11      suggests that POE is negatively associated with
12      neurocognitive and motor development.               These
13      differences begin from age six months and persist in
14      adolescence.      The exact cause and the association of
15      these findings with clinical factors and
16      environmental adversities are unclear but suggest
17      that children with POE should be provided long-term
18      support and intervention beyond infancy.
19             Q.       Do you agree with that?
20             A.       I think I generally agree with this
21      sentiment that, first of all, that this association
22      of prenatal opioid exposure is associated with -- in
23      some studies with motor delay.              And as the authors
24      have noted, it's, again, summarized here, but these


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1                        MR. BILEK:      Let's take a lunch break.
2                                   (Luncheon recess taken from
3                                   12:47 p.m. to 1:30 p.m.)
4                       A F T E R N O O N            S E S S I O N
5       BY MR. BILEK:
6              Q.        I think this is noncontroversial, but my
7       partner over here told me that we may not have
8       established this.        Opioids can cause NAS, correct?
9       Opioid exposure causes NAS?
10                       MR. HENRY:      Object to the form of the
11             question.
12                       THE WITNESS:       I agree that opioid
13             exposure during pregnancy can cause NAS in the
14             baby.
15      BY MR. BILEK:
16             Q.        Okay.   And as -- we have been going kind
17      of back and forth, but what I'm going to try to do
18      is -- and, again, this is not to be argumentative or
19      anything, it's just I want to understand.
20                       Is it your opinion that it is uncertain
21      whether long-term effects can accrue as a result of
22      being born with NAS?
23             A.        I think there have been studies on the
24      potential relationship of opioid exposure and NAS


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1              give my opinions on some questions, and that's
2              what I've done in my report.
3       BY MR. BILEK:
4              Q.       Well, the issue of medical monitoring for
5       children born with NAS, is that something that you
6       have an opinion of whether that should be conducted?
7                       MR. HENRY:      Object to the form of the
8              question.
9                       THE WITNESS:       It's hard for me to answer
10             that, I guess, general question.             Medical
11             monitoring, I think, if that's referring to a
12             specific program, I can't really speak to
13             because I'm not sure what it means.             I do think
14             that in our society all children should be
15             followed by their pediatricians for both their
16             health and their monitoring of development.
17                           So in that sense, I think --
18             actually, not just children with -- who have
19             been diagnosed with NAS but all children,
20             hopefully, in our society, which I think is
21             something we can continue to work on, every
22             child should have medical monitoring throughout
23             their childhood, including those who have NAS
24             diagnosed as a baby.


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1       study.
2                       This is a survey study where an
3       individual person answered questions about hospital
4       practices for their unit.            We did not ultimately
5       validate whether what they said actually occurred at
6       those hospitals, but that's just the type of study
7       that this was, was to get a general overview of the
8       treatment patterns and strategies and policies that
9       hospitals had across the state in regard to NAS
10      management.
11             Q.       And relying on what these people told you
12      on what their practice was, you would consider that
13      to be a scientifically reasonable thing to do, right,
14      as a researcher?
15             A.       Yeah.   So we thought it was a reasonable
16      study to do, and that's why we conducted it.                 And we
17      published the findings.
18             Q.       So go to page 465.           Okay.   You talk about
19      infant NAS assessment, and what you found was:
20                      96 percent of respondents reported using
21      the Finnegan scoring tool, correct?
22             A.       That's correct.
23             Q.       So when you did a survey about this in
24      California, you found that the Finnegan scoring was


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1       for infants affected by NAS, correct?
2              A.       That is correct.
3              Q.       And then at the end you go:
4                       Additionally, longer-term health and
5       neurodevelopment outcomes can be tracked to help
6       establish these strategies as best practice rather
7       than relying on short-term inpatient health outcomes
8       alone.
9                       What do you mean by that?
10             A.       I think, just as these other researchers
11      have done in the studies that, you know, you have
12      presented today and also in my report, we can
13      continue to study whether NAS or other associated
14      factors may be related to outcomes that are beyond
15      the newborn period.
16             Q.       In fact, you recommended that longer-term
17      health and neurodevelopment outcomes should be
18      tracked, right?
19             A.       Well, it says:
20                      Long-term health and neurodevelopment
21      outcomes can be tracked.
22                      And I think, yeah, just as, you know, we
23      have discussed already, I think we can always improve
24      our practice.      And so further research, I think for


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1               A.      I don't know how many, but some did have
2       prescriptions for opioids in babies that I treated
3       for NAS.
4               Q.      Were the ones that -- on the NAS, did you
5       have any that were -- did not involve opioids that...
6               A.      There would be patients that I took care
7       of who -- as far as we could tell from the history
8       and assessments that we would do, that they had not
9       been on opioids.
10              Q.      And how many of those were there?
11              A.      Again, it's hard for me to know the
12      number over the course of my practice, but there were
13      some.
14              Q.      The -- and you would consider -- if they
15      had a prescription during pregnancy, you would
16      consider that to be opioid exposure, correct?
17              A.      If they had a prescription to opioids and
18      the constellation of symptoms were consistent with
19      what we know about NAS, we would call that NAS.
20                      MR. BILEK:      I pass the witness.
21                      MR. HENRY:      I have no questions of this
22              witness.
23                           Anybody else?
24                      MS. ULLMAN:      No.


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